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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11   KAJI DOUSA,                                            Case No.: 19-CV-1255 TWR (KSC))
12                                         Plaintiff,
                                                            STATEMENT OF FINDINGS OF
13   v.                                                     FACTS AND CONCLUSIONS OF
                                                            LAW FOLLOWING BENCH TRIAL
14   U.S. DEPARTMENT OF HOMELAND
     SECURITY (“DHS”);
15                                                          (ECF Nos. 137–39)
     U.S. IMMIGRATION AND
16   ENFORCEMENT (“ICE”);
     U.S. CUSTOMS AND BORDER
17
     PROTECTION (“CBP”); ALEJANDRO
18   MAYORKAS, Secretary of DHS;
     TAE D. JOHNSON, Acting Director of
19
     ICE; CHRIS MAGNUS, Commissioner of
20   CBP; and SIDNEY AKI, Director of Field
     Operations for CBP, San Diego, 1
21
                                       Defendants.
22
23          Plaintiff Pastor Kaji Dousa initiated this action by filing her operative Complaint for
24   Declaratory and Injunctive Relief on July 8, 2019, alleging four causes of action for
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     1
       Pursuant to Federal Rule of Civil Procedure 25(d), Secretary of DHS Alejandro Mayorkas is
27   automatically substituted for Kevin K. McAleenan, Acting Director of ICE Tae D. Johnson for Matthew
28   T. Albence, Acting Commissioner of CBP Troy A. Miller for Mark A. Morgan, and Director of Field
     Operations for CBP, San Diego (“DFO”) Sidney Aki for Peter Flores.

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 1   (1) retaliation in violation of the First Amendment; (2) violation of the First Amendment’s
 2   Free Exercise Clause; (3) hybrid First Amendment rights claim; and (4) violation of the
 3   Religious Freedom Restoration Act (“RFRA”), 42 U.S.C. §§ 2000bb et seq., against
 4   Defendants U.S. Department of Homeland Security (“DHS”); U.S. Immigration and
 5   Enforcement (“ICE”); U.S. Customs and Border Protection (“CBP”); Alejandro Mayorkas,
 6   Secretary of DHS; Tae D. Johnson, Acting Director of ICE; Troy A. Miller, Acting
 7   Commissioner of CBP; and Sidney Aki, Director of Field Operations for CBP, San Diego
 8   (“DFO”). (See generally ECF No. 1 (“Compl.”).) After then-Chief Judge Larry Alan
 9   Burns dismissed with prejudice Plaintiff’s third cause of action, (see ECF No. 61), the
10   undersigned presided over a three-day bench trial beginning August 29, 2022, (see ECF
11   Nos. 137–39), during which the Court heard testimony from Plaintiff, CBP Branch Chief
12   Saro Oliveri, CBP Intelligence Agent Nathaniel Trueblood, then-Assistant Chief Patrol
13   Agent Roberto Del Villar, then-CBP Acting Special Operations Supervisor Juan
14   Rodriguez, and Supervisory CBP Officer Miguel Haro. (See ECF No. 140.) The Parties
15   subsequently filed their closing briefs, (see ECF Nos. 145 (“Pl.’s Br.”), 147 (“Defs.’ Br.”));
16   deposition designations for “CBP Agent 1,” then-CBP Agent Jeremy Burnett, then-ICE
17   Chief Intelligence Officer Lea DiSenso, and then-ICE Deputy Field Office Director Scott
18   Mechkowski, (see ECF No. 146), and then-CBP Intelligence Operations Supervisor Haldo
19   Dominguez, (see ECF No. 148); and redacted trial exhibits. (See ECF Nos. 149–54.)
20   Having carefully considered the record, the Parties’ arguments, and the relevant law, the
21   Court issues the following findings of fact and conclusions of law pursuant to Federal Rule
22   of Civil Procedure 52(a)(1). See Fed. R. Civ. P. 52(a)(1) (“In an action tried on the facts
23   without a jury or with an advisory jury, the court must find the facts specially and state its
24   conclusions of law separately.”).
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 1                                    FINDINGS OF FACT
 2   I.    Trusted Traveler Programs
 3         A.     Overview of Trusted Traveler Programs
 4         1.     “CBP Trusted Traveler programs (“TTPs”) allow travelers [to] cross U.S.
 5   international borders in an expedited fashion.” (ECF No. 135 (“Stip. Facts”) at 23 ¶ 1; see
 6   also ECF No. 143 (“Day 2 Tr.”) at 243:5–8, 249:11–15.) “TTPs are ‘risk-based programs
 7   to facilitate the entry of pre-approved travelers. All applicants are vetted to ensure that
 8   they meet the qualifications for the program to which they are applying.’” (Stip. Facts at
 9   23 ¶ 2 (quoting https://ttp.dhs.gov/); see also Day 2 Tr. at 245:12–25, 337:19–25.) A TTP
10   participant must remain low risk to continue to be a member of the program. (See Day 2
11   Tr. at 338:10–12.)
12         2.     “One TTP is Secure Electronic Network for Travelers Rapid Inspection, or
13   “SENTRI,” which provides expedited entry into the United States from Canada and
14   Mexico by land.” (Stip. Facts at 23 ¶ 3; see also Day 2 Tr. at 249:19–21.) “Another TTP
15   is Global Entry, which provides expedited entry into the United States from other countries
16   by land or by air.” (Stip. Facts at 23 ¶ 4; see also Day 2 Tr. at 249:16–18.) “Membership
17   in Global Entry includes all of the same expedited border-crossing privileges that come
18   with membership in SENTRI, plus additional privileges as well.” (Stip. Facts at 23 ¶ 5;
19   see also Day 2 Tr. at 249:22–250:2, 250:18–24.) Specifically, both programs allow
20   “[e]xpedited travel through a dedicated commuter lane and travel through a special kiosk
21   at . . . airports,” (see Day 2 Tr. at 336:6–10), although members of TTPs may still be sent
22   to secondary screening while crossing the border. (See id. at 336:1–20.)
23         3.     “For purposes of crossing the U.S./Mexico border on land, Global Entry and
24   SENTRI are the same.” (See id. at 250:22–24.) Indeed, “[t]he CBP officials deposed in
25   this case often use the terms ‘SENTRI’ and ‘Global Entry’ interchangeably.” (Stip. Facts
26   at 23 ¶ 6; see also Day 2 Tr. at 250:25–251:22.)
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 1         B.     Administration of the Trusted Traveler Programs
 2         4.     The Global Enrollment System (“GES”) is the official record for all TTPs.
 3   (See Day 2 Tr. at 330:2–5.) An entry in GES cannot subsequently be changed. (See id. at
 4   330:6–8.) A revocation of TTP status in GES must be made manually by a supervisor with
 5   annotations as to why he has taken that action. (See id. at 330:14–17.)
 6         5.     There are written guidelines (the “Trusted Traveler handbook”) that “set[]
 7   forth the rules, policies, [and] procedures for applying, determining eligibility, revocation,
 8   and the like.” (See id. at 246:4–11.) Although officers can recommend revocation of TTP
 9   status, a supervisor’s concurrence is required. (See id. at 246:23–247:8.) “[R]evocation
10   decisions must be finalized in two days,” (see id. at 331:14–19), and a revoked member’s
11   TTP card must be shredded and GES must be updated to reflect the revocation and
12   destruction of the card. (See id. at 334:8–335:2.)
13         6.     The enrollment center also must enter reasons for the revocation into GES “so
14   that a letter or notification can be generated by the system and sent to the member or posted
15   to his or her GOES account.” (See id. at 331:20–332:15; see also id. at 333:9–20.) If the
16   revocation is based on a decision that the person is no longer a low risk, the officer should
17   provide information as to why that conclusion was reached. (See id. at 335:20–25.)
18         7.     Since December 2014, Saro Oliveri has been the Branch Chief for CBP
19   responsible for TTPs in San Diego. (See id. at 241:24–242:16, 242:24–243:4, 243:9–12.)
20   “[I]t is very rare that [he] get[s] personally involved in decision making about whether to
21   revoke a person’s Trusted Traveler status,” (see id. at 247:18–25), happening
22   approximately once per year. (See id. at 248:1–249:7.) Oliveri did, however, have
23   “personal involvement” in Dousa’s TTP status. (See id at 257:17–258:4.)
24         8.     “In [his] job overseeing the[ TTPs], [Olivieri] do[es] not draw a distinction
25   between people having Global Entry or SENTRI.” (See id. at 251:4–7.) Although TTP
26   status can only be revoked, (see id. at 255:1–4), Oliveri also uses the terms “revocation”
27   and “suspension” interchangeably. (See id. at 254:22–25; see also id. at 255:5–7.)
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 1         9.     Between November 2018 and March 2019, Oliveri was on assignment from
 2   the TTP office to a liaison unit. (See id. at 258:17–20.) One of the supervisors who
 3   reported to Oliveri, Nicholas Gonzales, acted as Branch Chief of the TTP office during that
 4   time. (See id. at 258:25–8.) Nonetheless, Oliveri continued to receive emails in a TTP
 5   Branch Chief capacity during that time. (See id. at 259:9–14.)
 6         C.     Dousa’s Participation in the Trusted Traveler Programs
 7         10.    “Plaintiff applied for and received a membership in Global Entry in 2016.”
 8   (Stip. Facts at 23 ¶ 7; see also ECF No. 142 (“Day 1 Tr.”) at 99:10–13; ECF No. 153-10
 9   (“Ex. 340”).) Dousa believed Global Entry “would be useful to [her] in carrying out [her]
10   Christian ministry” because “it would allow [her] to expedite [her] border crossing so that
11   [she] could . . . [cross] more frequently, to offer [her] ministry in Mexico.” (See Day 1 Tr.
12   at 97:10–18.)
13         11.    “On November 27 and again on November 28, 2018, Dousa crossed the border
14   into the United States from Mexico at the San Ysidro Port of Entry using her Global Entry
15   membership.” (Stip. Facts at 23 ¶ 12; see also Day 1 Tr. at 95:7–18.)
16         12.    Dousa’s Global Entry card expired on August 22, 2022. (See Day 2 Tr. at
17   213:2–6, 227:20–23.) As of the date of her testimony, Dousa had applied for renewal. (See
18   id. at 227:24–25.) Because of a backlog in processing Global Entry renewals, her
19   expiration date was extended by a year. (See id. at 228:4–11.)
20   II.   Dousa and Her Ministry
21         13.    “Dousa is a U.S. Citizen and Senior Pastor at Park Avenue Christian Church
22   in New York City.” (Stip. Facts at 22 ¶ 1; see also Day 1 Tr. at 36:3–4, 37:13–23.) Dousa
23   was ordained by the United Church of Christ, a Protestant denomination, in 2002. (See
24   Day 1 Tr. at 34:20–23, 36:1–11.)
25         14.    There are two sacraments that are recognized in the Protestant church:
26   (1) baptism, and (2) communion. (See id. at 76:5–6.) There are also several rituals and
27   ceremonies, including funerals, marriages, ordinations, etc. (See id. at 44:3–13.)
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 1         15.    Dousa officiates marriage ceremonies “[v]ery often,” (see id. at 45:6–7), and
 2   “consider[s] performing marriages to be one of [her] most sacred pastoral duties.” (See id.
 3   at 50:1–3.) Dousa is authorized to sign marriage licenses in New York, (see id. at
 4   51:9–11), and takes that authorization “very seriously.” (See id. at 52:12–14.)
 5         16.    Dousa therefore has “very strict rules around how [she] will sign a wedding
 6   license.” (See id. at 52:14–15.) While she does sign marriage licenses outside of New
 7   York, (see id. at 52:25–2), she first “contact[s] the city or county clerk’s office just to make
 8   sure that [she] understand[s] what the requirements are, and that [she is] indeed authorized
 9   to do so.” (See id. at 52:2–6.)
10         17.    Dousa also has rules for conducting wedding ceremonies: she has a “standard
11   process that [she] . . . do[es]n’t deviate from for any marriage that [she] officiate[s].” (See
12   id. at 46:3–8.) In the “discernment phase,” Dousa “tr[ies] to get to know a little bit about”
13   the couple and understand whether there is “consent between the couple,” whether “there
14   [is] any coercion,” and whether “this [is] a real relationship.” (See id. at 46:8–17.)
15         18.    In “many, many cases,” Dousa will decline to marry couples following this
16   process. (See id. at 46:17–20.) Indeed, she has “turn[ed] away more couples than [she]
17   actually agree[s] to marry.” (See id. at 53:7–13.) If, however, the couple “do[es] make it
18   through that process, then the next several steps are to help them to understand both
19   theologically and ethically what it means to invite God into [their] relationship.” (See id.
20   at 46:21–24.)
21         19.    The immigrant community became a focus of Dousa’s ministry beginning in
22   2009 when “God called [her] to it.” (See id. at 53:20–23.) While she was at The Table
23   Church in San Diego in approximately 2013, Dousa would “go to Mexico to minister to
24   people there.” (See id. at 55:3–18.)
25         20.    Eventually, “Dousa [became] the co-chair of the New Sanctuary Coalition
26   (“New Sanctuary”), a faith-based network of congregations, organizations, and individuals
27   devoted to immigrant rights.” (Stip. Facts at 22 ¶ 2; see also Day 1 Tr. at 54:18–22,
28   61:7–10, 62:4–5.) As such, Dousa “advocate[s] for the rights and humane treatment of

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 1   immigrants,” (see Day 1 Tr. at 59:4–7), and has “been critical of any family separation
 2   policy from the Trump administration and also from the Biden administration.” (See Day
 3   2 Tr. at 175:5–176:7.) Consequently, “Dousa participates in and is involved in organizing
 4   protests, rallies, and prayer vigils, including ones that advocate for immigrants’ rights.”
 5   (Stip. Facts at 22 ¶ 3; see also Day 1 Tr. at 59:4–7; Day 2 Tr. at 151:2–152:10.)
 6          21.   Although she finds “it[] scary going on the news,” (see Day 2 Tr. at
 7   214:13–17), “Dousa makes television and media appearances in which she discusses
 8   immigration issues, and meets with local, state, and federal political representatives to
 9   discuss public policy and legislative issues related to immigration.” (Stip. Facts at 22 ¶ 4;
10   see also Day 1 Tr. at 61:1–4; Day 2 Tr. at 171:15–172:12.)
11   III.   The Sanctuary Caravan
12          22.   In late 2018 and early 2019, a large migration of individuals, primarily from
13   Central America, arrived at the U.S.-Mexico border seeking entry into the United States
14   and/or asylum in the United States. (See Stip. Facts at 22 ¶¶ 5–6.)
15          23.   “In late 2018, Pastor Dousa, through New Sanctuary, was involved in
16   organizing a ‘Sanctuary Caravan’ of faith leaders, congregants, and humanitarian workers
17   to Tijuana to provide pastoral services and support to migrants in the Migrant Caravan.”
18   (Stip. Facts at 23 2d ¶ 8; see also Day 1 Tr. at 64:2–65:10.) The Sanctuary Caravan was
19   planned to last forty days and forty nights. (See Day 1 Tr. at 65:13–18; Day 2 Tr. at
20   108:13–15.) Dousa “absolutely” “consider[ed her] work with The Sanctuary Caravan to
21   be part of [her] Christian ministry.” (See Day 1 Tr. at 66:11–14.)
22          24.   “In addition to providing services, Sanctuary Caravan members coordinated
23   with legal organizations working with migrants applying for asylum.” (Stip. Facts at 23
24   ¶ 9; see also Day 2 Tr. at 179:8–14.)
25          25.   “Before Pastor Dousa departed for Tijuana, Nicole Ramos—an attorney with
26   Al Otro Lado, an organization that provides support for migrants and asylum seekers—
27   asked Pastor Dousa if members of the Sanctuary Caravan could perform religious marriage
28   ceremonies for migrants in the caravan. Pastor Dousa agreed.” (Stip. Facts at 23 ¶ 10; see

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 1   also Day 1 Tr. at 68:5–69:10.) Specifically, Ramos asked Dousa to perform “religious
 2   ceremonies only” for couples who were already common-law married but were unable to
 3   prove the “fact of their marriage” because “common-law married couples with children are
 4   more likely to be separated in family detention.” (See Day 1 Tr. at 68:22–70:15; see also
 5   ECF No. 153-12 (“Ex. 346”).) In other words, Dousa and her cohorts “would not be
 6   seeking any state licensure or authorization” for the marriages.           (See Day 1 Tr. at
 7   69:25–70:4.) Dousa did not believe that the marriages she was asked to perform in Tijuana
 8   “would or could be used to help the migrants obtain asylum or any other legal status in the
 9   United States.” (See id. at 70:25–71:4.)
10         26.    As part of the Sanctuary Caravan, Dousa and seven other clergy traveled to
11   Tijuana on November 27 and 28, 2018. (See id. at 66:15–67:19.) They were not
12   accompanied by a notary public. (See id. at 146:15–20.)
13         27.    When Dousa and the other clergy crossed the border, “crowds of people would
14   come to seek to have prayer, laying [on] of hands, . . . hear[ing of] their confession[s,] . . .
15   bless[ing of] their babies.” (See id. at 74:3–15.) Dousa and other clergy also anointed the
16   sick, (see id. at 77:23–25); consoled mourners, (see id. at 79:20–22); and comforted the
17   distressed. (See id. at 80:8–10). Finally, “[o]n November 27 and 28, 2018, Pastor Dousa,
18   along with other clergy, performed approximately 17 religious marriage ceremonies for
19   migrants in Tijuana.” (Stip. Facts at 23 ¶ 11; see also Day 1 Tr. at 81:9–14.)
20         28.    Although Dousa is not familiar with the requirements for common law
21   marriage in any Central American country, (see Day 2 Tr. at 186:17–187:10), it was
22   Dousa’s understanding that the couples whom she and other members of the Sanctuary
23   Caravan married on November 27 and 28, 2018, were couples “who were common-law
24   married back home,” (see Day 1 Tr. at 81:24–82:3), and “who had not been able to have a
25   church-blessed wedding” previously. (See id. at 82:4–8.) All but one of the couples either
26   had children or had a child on the way. (See id. at 83:3–6.)
27         29.    Prior to officiating any marriages, Dousa followed the same process she
28   always does, “just in a very condensed form.” (See id. at 83:18–84:1.) “Based on those

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 1   conversations, . . . [Dousa] believe[d] that each of the couples met [her] criteria for agreeing
 2   to officiate their Christian marriage.”      (See id. at 84:9–13.)     “To the best of [her]
 3   knowledge,” she did not “perform any marriages in Tijuana for any couples who were not
 4   sincerely, genuinely a family, but were getting married solely for U.S. immigration
 5   purposes.” (See id. at 92:10–15.)
 6         30.    Dousa was not “asked to provide any kind of state authorization or recognition
 7   for the marriages [she] officiated in Tijuana in November of 2018.” (See id. at 83:10–14.)
 8   Although she does not know what members of Al Otro Lado or other clergy may have said
 9   about the marriage certificates, (see Day 2 Tr. 199:5–15), she personally “was very clear
10   [with the couples] that there would be no state authorization or recognition for these
11   marriages.” (See Day 1 Tr. at 84:18–22.)
12         31.    Dousa did, however, “provide a certificate of marriage to each of the 17
13   couples whose Christian marriage rituals [she] officiated in Tijuana in November of 2018.”
14   (See id. at 87:8–12.) The certificates did not “have any seal or any other marking of any
15   government entity,” (see id. at 88:6–9), and were not “notarized by a notary public.” (See
16   id. at 88:10–13; see also id. at 145:24–5; Day 2 Tr. at 196:13–19; ECF No. 153-2 (“Ex.
17   327”).) She did not provide any “sort of legal document” to accompany the marriage
18   certificates. (See Day 2 Tr. at 196:5–12.) Dousa also provided the couples with a copy of
19   her business card. (See Day 1 Tr. at 92:24–93:1; Day 2 Tr. at 193:22–194:7.)
20         32.    Dousa thought that the marriage certificates she provided “might offer the
21   chance for families to stay together once they were taken into immigration and detention.”
22   (See Day 1 Tr. at 91:10–18; see also id. at 92:4–9; Day 2 Tr. at 199:17–200:3.) She did
23   not believe that they would “be used to try to help [the couples] obtain asylum or any other
24   legal status in the United States.” (See Day 1 Tr. at 92:16–22.)
25         33.    After returning to the United States, Dousa helped to create a document to
26   help other clergy who were considering pastoral work in Tijuana. (See id. at 93:11–24; see
27   also ECF No. 154-1 (“Ex. 347”); Day 2 Tr. at 197:2–7.) That document emphasized that
28   the clergy would not be providing state recognition of the marriages, (see Day 1 Tr. at

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 1   94:23–95:6; see also Ex. 347), although it also recommended bringing a notary. (See Day
 2   2 Tr. at 197:17–199:4; see also Ex. 347.)
 3         34.     Dousa returned to Tijuana as part of the Sanctuary Caravan on January 2,
 4   2019. (See Day 2 Tr. at 108:23–109:4.) Although she had intended to stay for “several
 5   days,” (see id. at 109:11–13), she returned to the United States that same evening through
 6   the San Ysidro Port of Entry’s pedestrian SENTI walkway. (See id. at 110:9–18.)
 7   IV.   Operation Secure Line
 8         35.     Around the time that Dousa was involved in organizing the Sanctuary
 9   Caravan, “[CBP] began gathering information on individuals associated with the migrant
10   caravan.” (Stip. Facts at 22 ¶ 7.) The migrant caravan consisted of thousands of migrants,
11   primarily from Central America, amassing at the Southern border and seeking to enter the
12   United States. (See ECF No. 144 (“Day 3 Tr.”) at 368:12–368:16; see also id. at
13   407:12–15, 431:13–20.)
14         36.     Around Thanksgiving 2018, there was an attempted mass border crossing in
15   Tijuana. (See id. at 408:12–14.) There was another such mass border crossing attempted
16   around the New Year in 2019. (See id. at 409:14–17.)
17         37.     “In response to the Migrant Caravan, CBP implemented an operational plan
18   known as ‘Operation Secure Line.’” (Stip. Facts at 23 1st ¶ 8.) Operation Secure Line
19   resulted in a reallocation of additional resources to secure the southern border. (See, e.g.,
20   ECF No. 146-2 (“Burnett Depo.”) at 34:20–25:14; ECF No. 148-1 (“Dominguez Depo.”)
21   at 41:17–42:22.)
22         A.      Investigations Concerning Dousa
23         38.     As an intelligence agent for CBP’s Sector Intelligence Unit, Nathaniel
24   Trueblood was tasked with gathering information related to immigration-related crimes
25   and creating reports for field agents and other law enforcement officers. (See Day 3 Tr. at
26   367:9–368:2, 368:17–23.) Some of the persons of interest were caravan organizers,
27   including some who were providing humanitarian assistance to migrants. (See id. at
28   369:15–20.)

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 1            39.     One of Trueblood’s responsibilities was preparing daily reports of interviews
 2   that other agents had conducted of migrants who had crossed the border into the United
 3   States. (See id. at 368:24–369:6.) One type of report is a “report of investigation” (“ROI”),
 4   which is entered into a system known as IRS. 2 (See id. at 368:3–7.) IRS is “a database
 5   that contains information gathered by border patrol and is accessible to all intelligence
 6   agents in border patrol and Customs and Border Protection.” (See id. at 391:25–392:4; see
 7   also id. at 434:2–4.)
 8                    1.     November 30, 2018 Interview of Migrant 1
 9            40.     On November 30, 2018, two border patrol agents in Imperial Beach,
10   California—Joshua Morales and Fabian Lopez—conducted an interview of a Honduran
11   national identified in the record as “Migrant 1.” (See ECF No. 149-6 (“Ex. 30”); see also
12   Day 3 Tr. at 373:8:16.) The resultant report was “published” on December 3, 2018. (See
13   Ex. 30 at 1.)
14            41.     In relevant part, the report provides:
15            On November 30, 2018[,] Imperial Beath Patrol Station Strike Team Agents
              Interviewed Honduran national [Migrant 1] . . . . [Migrant 1] admitted to
16
              being a part of the Migrant Caravan that arrived in Mexico from Central
17            America. . . . [Migrant 1] later admitted to being a volunteer worker for the
              Park Avenue Christian Church.
18
19            [Migrant 1] stated that while in Tijuana, she was sitting with other members
              of the caravan at their camp site when an organizer began addressing the
20
              crowd. [Migrant 1] states that the person is a Reverend by the name Kaji S.
21            Dousa. [Migrant 1] stated that Kaji S. Dousa told her and others that were
              present at the camp site that they should all get married to each other.
22
              According to [Migrant 1] Dousa told everyone that if they get married, they
23            w[ould] get papers to live in the United States. [Migrant 1] stated that she is
              currently married to a man in Honduras and . . . that despite being married in
24
              Honduras, they forced her to get married. [Migrant 1] stated . . . that marriage
25            certificates are being provided to facilitate their political asylum claim once
              in the United States.
26
27
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         IRS appears to stand for “Intelligence Records System.”

                                                         11
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 1            [Migrant 1] stated than an organizer from Park Avenue Christian Church
              provided her with a phone since [Migrant 1] volunteered to help the group. . . .
 2
 3            A photo of Rev. Kaji S. Dousa was taken from the internet and shown to
              [Migrant 1 who] was unable to identify Rev. Kaji S. Dousa. [Migrant 1] stated
 4
              that a woman fitting the description of Rev. Kaji S. Dousa provided her with
 5            a red business card, with Dousa’s name on it above the title “Senior Minister,
              Park Avenue Christian Church”. . . .
 6
 7            [Migrant 1] gave verbal and written consent for Agents to search her cell
              phone. [Migrant 1] stated the app [redacted] was loaded on the phone when
 8
              she received it, and there were multiple group chats already created as
 9            well. . . .
10
              One of the messages in the “[redacted]” conversation . . . stated that a group
11            named [redacted] is organizing a protest at the San Ysidro Port of Entry to be
              held on Saturday[,] December 1, 2018. The message states that the intent of
12
              the protest is to shut down the San Ysidro Port of Entry. . . . The group chat
13            also contains a recorded voice message that states that [redacted] intends to
              initiate a violent confrontation with caravan members in order to gather media
14
              attention on the date of the protest.
15
16   (Ex. 30 at 3–4.) The report included an image of Dousa’s business card. (See Ex. 30 at 5.)
17            42.     On November 30, 2018, an email was circulated under the subject “Caravan
18   INTEL from ASID.”3 (See ECF No. 152-4 (“Ex. 305”).) The email noted “IMB ASID is
19   developing some INTEL to include a possible NY nexus and a church/religious group that
20   is assisting in coordinating at least some of the movement from the caravan.” (See id.)
21            43.     A draft of the report was circulated on December 2, 2018, to a group of
22   recipients including Supervisory CBP Officer Miguel Haro.4 (See ECF No. 154-2 (“Ex.
23   348”).) Miguel Haro responded, copying Morales and Lopez, “I may have found Kaji
24   Dousa and I was wondering if you still had the image you showed to [Migrant 1]
25
26
     3
         ASID appears to refer to the Alien Smuggler Identification and Deterrence unit.
27
     4
28    Because Miguel Haro’s brother, Jose Haro, was also employed by CBP during the relevant period, (see
     Day 3 Tr. at 446:12–16), the Court will distinguish between them by also using their first names.

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 1   [redacted]? I would also like to confirm that [Migrant 1] positively identified her in the
 2   photograph you showed.”5 (See id.; see also Day 3 Tr. at 495:5–13.)
 3           44.   Morales responded, “[Migrant 1] was NOT able to identify Dousa, but she did
 4   describe a woman fitting the description of Dousa. We showed various pictures of Kaji S.
 5   Dousa from the internet, as well as the website of the Park Avenue Christian Church.” (See
 6   Ex. 348.)
 7           45.   After it was published on December 3, 2018, a copy of the report was
 8   circulated via the November 30, 2018 email chain. (See Ex. 305.) The email indicated that
 9   “IMB ASID is looking into a church/religious group from NY called Park Avenue
10   Christian Church that may have assisted in coordinating movement of [the] caravan group.
11   Possible association to [redacted]. Rev. Kaji S. Dousa was pushing for subjects at the camp
12   site to marry each o[ther] to facilitate their political asylum case once in the U.S. Subject
13   [Migrant 1,] mentioned below, is currently married to a man in Honduras but stated they
14   forced her to get married at the camp.” (See id.)
15           46.   The email was forwarded up the chain of command. (See id.) Then-CBP
16   Division Chief Patrol Agent for Law Enforcement Operations Kathleen Scudder, (see Day
17   3 Tr. at 404:17–20), who reported to then-CBP Chief Patrol Agent for the San Diego Sector
18   Rodney Scott, (see id. at 404:21–23), forwarded the email to then-CBP Assistant Chief
19   Patrol Agent overseeing the Foreign Operations Branch in the San Diego Sector of the U.S.
20   Border Patrol, Roberto Del Villar, (see id. at 403:5–10), asking, “What the?” (See Ex.
21   305.)
22           47.   Del Villar then forwarded the email to Juan Rodriguez, then-CBP Acting
23   Special Operations Supervisor, (see Day 3 Tr. at 404:10–16, 429:24–430:2), writing “We
24   need to start with some serious targeting efforts. Canceling visas, SENTRIs, Psy[cological]
25   Op[eration]s, etc.” (See Ex. 305; see also Day 3 Tr. at 418:3–8, 419:15–17.)
26
27
     5
28     When Miguel Haro said that he had “found” Dousa, he meant that he had searched for her name in an
     internal CBP databased and had found a record for her. (See Day 3 Tr. at 495:13–19.)

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 1         48.   Trueblood was “concern[ed]” about Dousa’s purported claim that those who
 2   got married would get papers to live in the United States because single adults had “more
 3   of a chance of being detained,” whereas those who were married or had children had a
 4   greater chance of being released together. (See Day 3 Tr. at 396:24–397:14.) Trueblood
 5   was also “concern[ed]” by the information on Migrant 1’s phone regarding a possible
 6   confrontation at the border “[b]ecause previously there was a physical, violent
 7   confrontation with several hundred migrants that had actually closed down the San Ysidro
 8   Port of Entry for . . . a period of like 10, 12 hours.” (See id. at 397:16–24.) Although
 9   Trueblood believed that the report merited follow up, it was not his job to do so. (See id.
10   at 398:15–22.)
11         49.    On December 3, 2018, Trueblood emailed a “Migrant Interview Analysis” of
12   the November 30, 2018 interview of Migrant 1. (See ECF No. 153-1 (“Ex. 325”); see also
13   Day 3 Tr. at 369:23–370:17.) Trueblood wrote:
14         On November 30, 2018, Imperial Beach Border Patrol Station Strike Team
           Agents interviewed Honduran national [Migrant 1] who was part of the
15
           Migrant Caravan. [Migrant 1] identified several individuals who are
16         organizing the caravan and attempting to defraud the U.S. government.
           [Migrant 1] stated that Reverend named Kaji S. DOUSA from the Park
17
           Avenue Christian Church told members of the caravan [they] should get
18         married to each other. [Migrant 1] stated . . . that marriage certificates are
           being provided to facilitate their political asylum claim once in the United
19
           States. An organizer from the Park Avenue Christian Church provided her
20         with a phone, which had social media application called [redacted] used by
           organizers and advisors to the caravan to communicate to each other. The
21
           following subjects are the ones designated as Group Chap administrators on
22         the [redacted]. Several of these numbers are linked to individuals already
           identified by the Department of Homeland Security (DHS) as organizers.
23
24         ...
25
           According to [Migrant 1], DOUSA told members of the caravan that if they
26         get married, they will get papers to live in the United States. [Migrant 1]
           stated that an organizer from the Park Avenue Christian Church provided her
27
           with a phone since [Migrant 1] volunteered to help the group.
28

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 1   (Ex. 325 at 2–4; see also Day 3 Tr. at 371:19–373:6.)
 2         50.    Trueblood was not present for the interview and never spoke with Migrant 1.
 3   (See Day 3 Tr. at 370:19–371:3.) In preparing his email, Trueblood relied on and
 4   summarized the interview report prepared by the interviewing border patrol agents. (See
 5   id. at 371:10–18.)
 6         51.    Dousa credibly testified at trial that she had never “address[ed] a crowd of
 7   migrants in Tijuana and t[old] them that if they got married, they would get papers to live
 8   in the United States.” (See Day 2 Tr. at 139:4–9.) She also denied that she “ever t[old]
 9   anyone in Tijuana in any setting that if they got married, they would get papers to live in
10   the United States,” (see id. at 139:17–22); they “would get marriage certificates to facilitate
11   their political asylum claims,” (see id. at 142:6–15); or she ever “forced anyone to get
12   married.” (See id. at 140:14–141:16.) Dousa also denied “giv[ing] anyone in Tijuana any
13   cell phone.” (See id. at 145:2–4.)
14                2.      December 17, 2018 Recovery of a Marriage Certificate
15         52.    On December 20, 2018, Trueblood prepared a ROI entitled “Possible
16   Marriage Fraud Migrant Caravan ROI,” (see ECF No. 153-5 (“Ex. 330”); see also Day 3
17   Tr. at 380:1–4), which provides, in relevant part:
18         Executive Summary:
           Imperial Beach Border Patrol Intelligence Group (IBM Intel Group) was able
19
           to identify several subjects involved in performing marriages in Tijuana, MX
20         as a tactic to assist members of the migrant caravan with their asylum claims.
           On December 17, 2018, IMB Strike Team discovered a marriage certificate
21
           linking a Virginia notary and reverend with performing a marriage for two
22         Guatemalan Nationals. Further analysis linked the revered to another open
           border activist/attorney named Nicole Ramos who works with the migrant
23
           caravan, and initiates active protests at the Otay Mesa Port of Entry (OTM
24         POE). RAMOS is linked to another pastor involved in marrying migrant
           caravan members that was previously identified by the IMB Intelligence
25
           Group.
26
           Narrative:
27
           On December 17, 2018, IMB Border Patrol Agents apprehended a Guatemala
28         National family . . . for illegally entering the United States (U.S.). . . .

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 1          During the search of their personal belong[ing]s by IMB Strike Team, a
            marriage certificate was found showing [redacted] were recently married on
 2
            December 03, 2018[,] in Tijuana, MX. The certificate had a simple generic
 3          overlay with no distinct markings other than an official notary stamp from the
            Commonwealth of Virginia. The registered notary public is a subject named
 4
            Alicia Rose HORST . . . . The reverend who performed the ceremony is a
 5          subject named Brittany CAINE-Conley from the United Church of Christ
            located in Charlottesville, VA.
 6
 7   (Ex. 330 at 1 (emphasis in original).)
 8          53.    The ROI continues with “a more extensive analysis on the subjects connected
 9   to the marriage certificate.” (See id.) Several pages later, in a discussion of Ramos, the
10   report notes that, “[o]n November 27, 2018, RAMOS posted about how Al Otro Lado was
11   partnering with New Sanctuary Coalition. She linked Kaji DOUSA and DOUSA was in
12   the photograph. DOUSA was previously identified by IMB Strike Team as another pastor
13   performing marriage ceremonies in Tijuana, MX . . . .” (See id. at 7.)
14          54.    There is then a separate entry for Dousa, identifying her “Association” as
15   “Pastor for Park Avenue Christian Church/Coordinator for the Migrant Caravan.” (See id.)
16   The ROI notes:
17          On November 30, 2018, an illegal alien named [Migrant 1] was interviewed
            regarding her role in the migrant caravan. [Migrant 1] stated that while in
18
            Tijuana, she was sitting with other members of the caravan at their campsite
19          when an organizer began addressing the crowd. [Migrant 1] states [it] was
            Reverend Kaji S. DOUSA. [Migrant 1] stated that DOUSA told her and
20
            others that were present at the migrant campsite that they should all get
21          married to each other. According to [Migrant 1] DOUSA told everyone that
            if they got married, they would get papers to live in the United States.
22
23   (See id. at 8.)
24          55.    The ROI concludes:
25          The Migrant Caravan is a common cause for numerous open border,
26          humanitarian, and other groups with the goal to challenge U.S. Immigration
            laws. RAMOS works for one of these groups named Al Otro Lado.
27          According to their website, this organization assists deportees, migrants, and
28          refugees in Tijuana, MX. They attempt to use mechanisms such as the U Visa,


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 1            the Credible Fear screening process for refugees, and Humanitarian Parole to
              allow aliens to gain legal status in the U.S. RAMOS has documented travel
 2
              to Guatemala and the southern Mexico Border in order to assist migrants with
 3            their goal of entering the U.S. RAMOS is a common connection between
              both DOUSA and CAINE who have married an unknown number of migrants
 4
              with a promise it will help their asylum claims.
 5
              Further investigation into the regulations pertaining to the violations of notary
 6
              law of the Commonwealth of Virginia shows possible violations and/or
 7            criminal activity. HORST possibly violated the prohibition of a notary public
              to offer legal advice on immigration or other legal matters, unless she is
 8
              authorized or licensed to practice law within the Commonwealth or accredited
 9            pursuant to 8 C.F.R. 292.2 to practice immigration law . . . .
10   (Id.)
11            56.     As of December 20, 2018, Trueblood had no information that Caine-Conley
12   had told migrants that getting married would help with their asylum claims, (see Day 3 Tr.
13   at 386:5–8), and no evidence aside from Migrant 1’s statement that Dousa was performing
14   marriages to help with asylum claims. (See id. at 386:19–23.)
15            57.     On December 20, 2018, Ricardo Gilbert, a special agent assigned to the HIS
16   Document and Benefit Fraud Task Force, 6 reached out to Trueblood and another agent
17   regarding “the recent reporting regarding Hondurans being found with Marriage
18   Certificates and/or with VA Notarized documents.” (See ECF No. 153-3 (“Ex. 328”); see
19   also Day 3 Tr. at 387:1–10.) He also requested clarification as to several questions. (See
20   Ex. 328.)
21            58.     Trueblood responded the following day, attaching the ROI and a copy of the
22   marriage certificate. (See Ex. 328; see also Day 3 Tr. at 387:21–23.) In response to
23   Gilbert’s questions, Trueblood noted that the marriage certificate recovered on
24   December 17, 2018, was a “generic[,] illegitimate marriage certificate.” (See Ex. 328; see
25   also Day 3 Tr. at 387:24–388:1.) At his deposition, Trueblood testified that he believed
26   the marriage certificate looked illegitimate because the notary and officiant were from
27
28   6
         HIS appears to refer to ICE’s Homeland Security Investigations Service.

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 1   Virginia, while the marriage happened in Tijuana. (See Day 3 Tr. at 389:8–25.) Trueblood
 2   also noted that “[i]t appears a Reverend named Kaji Rosa DOUSA is telling the migrants
 3   if they get married, they w[ill] get papers to live in the United States.” (See Ex. 328; see
 4   also Day 3 Tr. at 391:5–9.)
 5            59.     On December 28, 2018, Miguel Haro received an email with the subject line
 6   “SM/OS and financials on fraud marriage certificate group.”7 (See ECF No. 151-1 (“Ex.
 7   79); see also Day 3 Tr. at 535:1–15.) The email contains bullet points related to the
 8   Facebook and LinkedIn profiles and certain financial information for four “targets”: Alicia
 9   Rose Horst, Brittany Caine-Conley, Nicole Elizabeth Ramos, and Kaji Rosa Dousa
10   Spellman. (See Ex. 79; see also Day 3 Tr. at 535:16–539:15.)
11            60.     The email indicates that Dousa’s “Facebook is blank and private” and that a
12   report from a financial tracking service used by the United States government in 2012
13   turned up a $12,876 withdrawal from a PNC bank in Pittsburgh. (See Ex. 79; see also Day
14   3 Tr. at 542:14–19.) An additional search in another financial tracking service yielded no
15   results. (See Day 3 Tr. at 542:20–543:1.)
16            61.     On January 14, 2019, Trueblood published a Field Information Report entitled
17   “Migrant Caravan—Possible Marriage Fraud,” (see ECF No. 150-4 (“Ex. 73”); see also
18   Day 3 Tr. at 391:18–21), which contains “basically the same . . . information [as] in the
19   marriage fraud report of information.” (See Day 3 Tr. at 392:5–15.)
20            B.      Actions Regarding Dousa’s TTP Status
21            62.     On December 2, 2018, Miguel Haro emailed Gonzales, cc’ing Oliveri,
22   identifying Dousa as a SENTRI holder who was possibly a caravan organizer. (See ECF
23   No. 149-5 (“Ex. 29”); see also Day 2 Tr. at 259:18–260:23, 261:5–10.) Miguel Haro noted
24   that he had “placed a lookout on the subject,” (see Ex. 29; see also Day 2 Tr. at
25   261:12–18; Day 3 Tr. at 497:8–14, 499:7–10, 574:25–575:2), meaning she could be
26   referred to secondary screening or tracked when she crossed the border. (See Day 2 Tr. at
27
28   7
         Based on the content of the email, SM/OS appears to stand for “Social Media/Online Selectors.”

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 1   262:17–22; see also Day 3 Tr. at 497:15–19.) A lookout is placed in the Treasury
 2   Enforcement Communications System (“TECS”), (see id. at 269:18–19, 280:8–9; see also
 3   id. at 317:25–318:3), and can affect the subject’s TTP status. (See id. at 262:23–263:1,
 4   269:10–270:1.)
 5         63.    Miguel Haro added that he “would like to have her interviewed to see if she
 6   is helping coordinate the caravan in Tijuana,” (see Ex. 29; see also Day 2 Tr. at 263:2–9),
 7   but that “her continued enrollment [in Global Entry] I’ll leave up to your discretion.” (See
 8   Ex. 29; see also Day 2 Tr. at 263:4–264:7; Day 3 Tr. at 498:20–499:6.) The email also
 9   transmitted the Field Information Report (“FIR”) discussing Morales and Lopez’s
10   interview of Migrant 1. (See Ex. 29; see also Day 2 Tr. at 260:24–261:1.)
11         64.    On December 3, 2018, at 7:03 a.m., Gonzales responded, asking Miguel Haro
12   to “[p]lease, let us know once you confirm this information.” (See Ex. 29; see also Day 2
13   Tr. at 264:13–19; Day 3 Tr. at 500:9–13.)
14         65.    Miguel Haro responded that evening at 8:19 p.m. that “Border Patrol showed
15   various pictures of Kaji S. Dousa from the internet, as well as the website of the Park
16   Avenue Christian Church[. Migrant 1] was not able to identify Dousa, but she did describe
17   a woman fitting the description of Dousa. Attached is a picture of the business card
18   [Migrant 1] was provided with and had in her possession.” (See Ex. 29; see also Day 2 Tr.
19   at 264:20–265:7; Day 3 Tr. at 500:22–501:2.)
20         66.    On December 3, 2018, Miguel Haro also disseminated an “organizers line up”
21   containing photographs and names of purported “instigators.” (See ECF Nos. 149-9 (“Ex.
22   39”), 150-3 (“Ex. 64”); see also Day 2 Tr. at 286:6–287:20; Day 3 Tr. at 503:15–508:3;
23   ECF No. 149-3 (“Ex. 14”).) Beginning on December 5, 2018, and various dates thereafter,
24   Miguel Haro disseminated “target profiles” for twenty-four “caravan organizers/
25   instigators” to a wide variety of individuals within CBP. (See ECF Nos. 149-10 (“Ex. 40”),
26   151-3 (“Ex. 109”), 151-4 (“Ex. 110”), 151-5 (“Ex. 111”), 152-2 (“Ex. 302”); see also Day
27   2 Tr. at 287:21–288:24, 289:16–290:1; Day 3 Tr. at 508:17–518:9, 531:1–534:4; ECF No.
28   152-1 (“Ex. 301”).) One of the attached profiles was for Dousa and included her name,

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 1   photograph, and other identifying information. (See Exs. 40, 109, 301, 302; see also Day
 2   2 Tr. at 289:3–9, Day 3 Tr. at 508:17–509:18.) In the process of updating the target
 3   profiles, Miguel Haro emailed Gonzales on December 5, 2018, to ask whether “any
 4   decision [had] been made about her membership in the TTP” or whether they were “in a
 5   holding pattern until she is interviewed by TTRT.” (See ECF No. 152-5 (“Ex. 309”); see
 6   also Day 3 Tr. at 525:11–19.)
 7         67.    On December 5, 2018, Gonzales placed an “interdiction” on Dousa in GES.
 8   (See ECF No. 150-2 (“Ex. 51-2”) at 48–49; ECF No. 154-7 (“Ex 580”); see also Day 2 Tr.
 9   at 268:6–10, 348:13–349:5.) An interdiction is distinct from a lookout and triggers an alert
10   when the subject tries to go through a TTP lane at the border, (see Day 2 Tr. at
11   268:11–269:9; see also Day 3 Tr. at 526:18–527:3), and, as with a lookout, can affect the
12   subject’s continued eligibility for TTPs. (See Day 2 Tr. at 269:10–270:1.)
13         68.    On December 6, 2018, Gonzales emailed Miguel Haro, cc’ing others, “Today
14   I suspended [Dousa’s] Global access as well,” (see Ex. 309; see also Day 2 Tr. at
15   270:2–6; Day 3 Tr. at 526:11–13), meaning Dousa’s Global Entry had been revoked. (See
16   Day 2 Tr. at 270:7–272:2, 274:23–275:4.) He added, “I am going to wait until you guys
17   interview her so I can add more information in her account.” (See Ex. 309; see also Day 3
18   Tr. at 526:13–15.) Miguel Haro responded, confirming receipt. (See Ex. 309; see also Day
19   3 Tr. at 527:4–13.)
20         69.    On December 13, 2018, at 10:15 p.m., Miguel Haro forwarded to Oliveri an
21   email with the subject line “DOUSA KANJI []INFO/MARRIAGE FRAUD
22   CERTIFICATE,” in which he asked Oliveri to forward the email to Gonzales to “see what
23   you and him think of this for this TTP participant.” (See ECF No. 149-14 (“Ex. 44”); Day
24   2 Tr. at 304:25–305:25; Day 3 Tr. at 529:3–7.) Oliveri understood this to mean that Miguel
25   Haro wanted his and Gonzales’s thoughts about possibly revoking Dousa’s TTP privileges.
26   (See Day 2 Tr. at 306:1–5, 306:12–19.)
27   ///
28   ///

                                                  20
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 1         70.    Oliveri responded the following day, December 14, 2018, “We revoked her.”
 2   (See ECF Nos. 149-8 (“Ex. 33”), 152-7 (“Ex. 314”); see also Day 2 Tr. at 306:20–307:1;
 3   Day 3 Tr. at 529:8–16.)
 4         71.    Ultimately, despite these email communications, Dousa’s GES contains “no
 5   indication of revocation.” (See Day 2 Tr. at 333:21–334:4.)
 6         C.     December 10, 2018 Email to the Mexican Government
 7         72.    On December 10, 2018, Oliveri emailed an official with the Mexican
 8   immigration authorities, requesting in Spanish that the Mexican government detain and
 9   return to the United States a list of twenty-four people corresponding to the twenty-four
10   “caravan organizers/instigators” for whom target profiles had been prepared on December
11   5, 2018. (See ECF Nos. 149-11 (“Ex. 41”); see also Day 2 Tr. at 290:1–293:13.)
12   Translated into English, the email reads:
13         Greetings [redacted],
14
           CBP has identified the following individuals as part of the
15         organizers/instigators of the migrant caravan that is currently located in
           Tijuana. The majority of these persons are United States citizens and there
16
           exists a great possibility that they do not have adequate documentation to be
17         in Mexico. CBP wishes to interview them all and respectfully requests of the
           INM that they deny their entry to Mexico. If they are found, please send them
18
           back to the United States so that CBP may proceed with the interview. Your
19         attention and assistance is very appreciated.
20   (Ex. 41; see also Day 2 Tr. at 294:16–296:5, Day 3 Tr. at 519:10–520:14.)
21         73.    On December 11, 2018, Oliveri forwarded the email to Miguel Haro, (see ECF
22   No. 149-12 (“Ex. 42”); see also Day 2 Tr. at 304:14–23, Day 3 Tr. at 518:17–20), who, in
23   turn, forwarded the “list” to the Director of Field Intelligence for the Office of Intel. (See
24   ECF No. 149-13 (“Ex. 43”); see also Day 3 Tr. at 522:20–523:8.)
25         74.    The list in the email contained fourteen U.S. citizens, including Dousa. (See
26   Exs. 41, 42, 43; see also Day 2 Tr. at 290:12–291:2, 293:14–18, Day 3 Tr. at 521:5–11.)
27   Oliveri was not involved in creating the list of people the email contained. (See Day 2 Tr.
28   at 294:1–4, 301:21–302:9.)

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 1          75.     This was the first and only time that Oliveri has ever sent such a
 2   communication, (see id. at 297:6–298:1, 298:25–299:12), and he is not aware of anyone
 3   else at CBP sending such a communication to a foreign government.                               (See id. at
 4   299:13–300:18; see also id. at 344:17–22.) Although he was involved in writing the email,
 5   (see id. at 293:19–25), Oliveri does not recall who asked him to send the email, (see id. at
 6   291:3–5, 302:10–14), or why he told the Mexican government that there was a large
 7   possibility that the people on that list did not have adequate documentation to be in Mexico.
 8   (See id. at 298:12–16.)
 9          76.     In fact, “[n]o one told [Oliveri]” that there was a great possibility that the
10   people on the list did not have adequate documentation to be in Mexico. (See id. at
11   302:14–18.) At trial, he characterized the addition of that statement as “[l]iterally, creative
12   writing . . . [w]ithout any basis.” (See id. at 302:19–303:4.)
13          77.     Oliveri never received a response to the December 10, 2018 email, (see id. at
14   326:5–10), and is not aware of any action taken pursuant to it. 8 (See id. at 326:11–13.)
15   Although he testified that he did not “have any expectation . . . the recipients in Mexico
16   would take the action [he had] requested,” (see id. at 327:10–13), no other explanation was
17   offered for why he would have sent it. Oliveri has not followed up on, retracted, or
18   corrected the email in any way and does not know whether anybody else has. (See id. at
19   303:17–25, 304:6–12.)
20   ///
21
22   8
       Although not introduced into the record—and therefore not considered as part of the instant Statement
     of Decision—the Court notes that the DHS Office of Inspector General (“OIG”) reported that,
23   “[a]pproximately a month after [Oliveri]’s email, Mexico notified the FOB that it was denying entry to
24   [an] American [listed in the email].” See OIG, DHS, CBP Targeted Americans Associated with the
     2018–2019 Migrant Caravan 19, OIG-21-62 (Sept. 20, 2021), available at https://www.oig.dhs.gov/sites/
25   default/files/assets/2021-09/OIG-21-62-Sep21.pdf (the “DHS OIG Report”). Because the Court “may
     take judicial notice of the fact that such a report was published by the OIG, but not of the facts included
26   within the report,” see Dasenbrock v. Enenmoh, No. 1:11-CV-01884-DADGSAPC, 2018 WL 10322174,
     at *2 (E.D. Cal. Jan. 8, 2018); see also, e.g., Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 999 (9th
27   Cir. 2018) (“[A] court cannot take judicial notice of disputed facts contained in such public records.”
28   (citing Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001))), the Court reiterates that it does not
     consider this fact as part of the record or its analysis.

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 1         D.    Dousa’s Detention and Interrogation
 2         78.   “On January 2, 2019, after having returned to Tijuana, Pastor Dousa crossed
 3   the border into the United States from Mexico at the San Ysidro Port of Entry, but was not
 4   able to use her Global Entry membership to cross in an expedited fashion, and instead was
 5   referred to secondary inspection.”    (Stip. Facts at 23 ¶ 13; see also Day 2 Tr. at
 6   110:19–111:12.) An email alert was sent to Miguel Haro pursuant to the TECS alert he
 7   had placed on Dousa. (See ECF No. 154-3 (“Ex. 349”); see also Day 3 Tr. at 544:7–19.)
 8         79.   Dousa was not informed why she had been placed into secondary. (See Day
 9   2 Tr. at 112:1–3; see also id. at 115:15–18.) After she was referred to secondary, the
10   Tactical Terrorism Response Team was contacted for an interview. (See, e.g., Burnett
11   Depo. at 38:14–19.) Then-CBP Agent Jeremy Burnett and an officer identified in the
12   record as “CBP Agent 1” were selected to perform the interview. (See id. at 44:14–45:6;
13   see also CBP Agent 1 Depo. at 40:12–17.)
14         80.   Burnett and CBP Agent 1 had approximately 30 to 40 minutes to prepare
15   before the interview. (See Burnett Depo. at 38:20–39:6.) During that time, they queried
16   databases to determine the subject’s crossing and interview history and called the
17   Emergency Operations Center (“EOC”) to determine whether there were any instructions
18   or questions to be asked. (See id. at 39:7–42:3; see also id. at 33:6–34:15; CBP Agent 1
19   Depo. at 26:17–27:5, 28:9–29:13.) Although Burnett could not recall whether he had
20   conferred with CBP Agent 1 prior to interviewing Dousa, it was generally their practice to
21   do so. (See Burnett Depo. at 46:17–22.)
22         81.   CBP Agent 1 was “confident” that prior to the interview he knew that Dousa
23   “was . . . possibly involved in marriage fraud.” (See CBP Agent 1 Depo. at 43:24–44:20.)
24   He also believed that he may have called Miguel Haro after querying Dousa’s TECS record
25   and before the interview. (See id. at 49:12–50:5.) He was unsure whether he learned of
26   Dousa’s alleged involvement in marriage fraud from TECS or from Miguel Haro. (See id.
27   at 50:13–18.)
28   ///

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 1         82.    Burnett, on the other hand, did not recall knowing in advance of the interview
 2   that there was an allegation that Dousa was committing marriage fraud. (See Burnett Depo.
 3   at 51:7–13.) He believes he may have seen “a chart of pictures of certain individuals . . .
 4   they believed were involved in the caravan,” which was likely a targeting package, (see id.
 5   at 58:22–59:4), and that Dousa’s picture was on it. (See id. at 51:1–6.)
 6         83.    Dousa was detained and interviewed by Burnett and CBP Agent 1 regarding
 7   her ministry to members of the migrant caravan. (Stip. Facts at 23 ¶ 14; see also Day 2 Tr.
 8   at 111:19–114:16.) Burnett asked questions, while CBP Agent 1 took notes. (See Burnett
 9   Depo. at 47:25–48:7; CBP Agent 1 Depo. at 40:18–41:9, 43:8–11.) According to Burnett’s
10   recollection, the TTRT agents were generally instructed to ask questions regarding why the
11   subject was in Mexico, their involvement in the caravan, and whether they were aiding
12   with illegal crossings, (see Burnett Depo. at 62:20–63:12; see also CBP Agent 1 Depo. at
13   30:6–20), and Dousa was asked these questions. (See Burnett Depo. at 63:13–15; see also
14   id. at 74:7–75:2; CBP Agent 1 Depo. at 45:3–9.)
15         84.    Burnett testified at his deposition that the interview was “a usual interview.”
16   (See Burnett Depo. at 35:23–36:17.) CBP Agent 1 believed that Dousa was being “open”
17   with them. (See CBP Agent 1 Depo. at 44:21–45:2.)
18         85.    In what Miguel Haro later characterized as a possible “lack of
19   communication,” (see Day 3 Tr. at 577:11–25), “[t]he CBP agents who interviewed Pastor
20   Dousa in secondary inspection did not ask any questions about any marriage ceremonies
21   Pastor Dousa performed” in Tijuana in November 2018, (see Stip. Facts at 23 ¶ 15; see
22   also Day 2 Tr. at 113:12–21, 138:4–6; Day 3 Tr. at 548:24–549:12), and—
23   understandably—she did not volunteer any such information. (See Day 2 Tr. at 114:6–14,
24   210:24–211:13.) According to CBP Agent 1, “[i]t didn’t seem necessary” to ask Dousa
25   about marriage fraud. (See CBP Agent 1 Depo. at 45:10–15.)
26         86.    The interviewing agents also did not ask Dousa any questions regarding the
27   Virginia notary, (see id. at 147:10–24), or the report based on Migrant 1’s interview that
28   Dousa had addressed a crowd in Tijuana and told them that if they got married, they would

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 1   get papers to live in the United States, (see id. at 140:4–10); forced people to get married,
 2   (see id. at 141:17–21); and had provided anybody with a cell phone. (See id. at 145:5–9.)
 3         87.    After forty-three minutes, the agents told Dousa she was free to go. (See id.
 4   at 114:15–21; see also id. at 209:7–14.) They gave her back her Global Entry card. (See
 5   id. at 212:3–5.)    A subsequent query of a CBP database reported that Dousa had
 6   “PRESENTED HER VALID GLOBAL ENTRY CARD . . . FOR ENTRY INTO THE
 7   UNITED STATES.” (See ECF No. 154-12 (“Ex. 586”) (emphasis in original); see also
 8   Day 2 Tr. at 327:21–328:16.)
 9         88.    Although Dousa had intended to, she did not return to Tijuana the following
10   day or for the rest of the week because she “was afraid” and “wasn’t sure what was
11   happening.” (See id. at 115:1–14; see also id. at 134:3–8.)
12         89.    On January 3, 2019, Miguel Haro received an email notification reporting
13   “NEGATIVE INSPECTION RESULTS,” (see ECF No. 154-4 (“Ex. 350”) (emphasis in
14   original); see also Day 3 Tr. at 544:22–545:15), meaning “nothing was seized from Pastor
15   Dousa and no derogatory information was found” during her interview with the TTRT the
16   previous day. (See Day 3 Tr. at 545:16–19.)
17         90.    On January 4, 2019, a “Field Encounter” was published entitled “MIGRANT
18   CARAVAN 2019/KAJI DOUSA.” (See ECF No. 151-9 (“Ex. 125”); see also Day 3 Tr.
19   at 546:19–21.) In relevant part, the Field Encounter provided:
20         EXECUTIVE SUMMARY
21
           On January 2, 2019[,] at approximately 1847 hours, Kaji DOUSA (DOB:
22         [redacted]) applied for entry into the US from Mexico via the San Ysidro Port
           of Entry Pedestrian West area. DOUSA presented her valid Global Entry card
23
           bearing #[redacted], her name, and picture for entry into the United States.
24         Primary Customs and Border Protection Officer Salazar received two negative
           customs declarations from DOUSA and she stated she was going to San
25
           Diego. Primary CBPO [redacted] Queried DOUSA’S name in CBP systems
26         and received a computer generated alert. DOUSA was referred and escorted
           to the Pedestrian West secondary area for further inspection. CBPO
27
           [redacted] and CBPO Burnett were notified of the alert and responded.
28   ///

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 1         An interview of DOUSA was conducted by CBPO Burnett and CBPO
           [redacted]. DOUSA made the following statements:
 2
 3         NARRATIVE
 4
           DOUSA arrived in San Diego on Sunday[,] December 30, 2018[,] and spent
 5         New Year’s in Los Angeles. She traveled to Tijuana on this date, January 2,
           2019[,] and spent the day with immigrants as part of her “Aid Organization.”
 6
           She is a Pastor for Park Avenue Christian Church . . . . She is now going to
 7         San Diego and tomorrow, Thursday, January 3, 2019[,] she will return to
           Tijuana. She will be returning to New York on Saturday, January 5, 2019.
 8
 9         DOUSA stated she speaks to migrants who want to cross over to the US “the
           right way” by “preparing them” to share their credible fear story truthfully.
10
           She has been helping the migrants who[se] numbers are coming up at the
11         shelters in Tijuana, Mexico. When she talks to people at the shelter, she sees
           them frustrated and “at a breaking point.” Some of them want to cross through
12
           the desert. DOUSA does not encourage them to go through the desert because
13         it is dangerous.
14
           DOUSA has been a pastor since 2006 and has been working on this project
15         since 2009, when she was with “New Sanctuary” in New York. . . . In the
           past, she has worked with Immigration and Customs Enforcement in New
16
           York as well as CBP New York but was not too clear as to what her dealings
17         were/are with them.
18
           . . . No derogatory information was found during interview[.]
19
           DOUSA was released at approximately 1930 hours.
20
21   (Ex. 125 at 4; see also Day 3 Tr. at 546:24–548:22.)
22         91.    By writing “[n]o derogatory information was found,” CBP Agent 1 meant
23   “[n]o information that was gathered . . . sa[id] that she was involved in . . . marriage fraud
24   or anything that had to do with the caravan.” (See CBP Agent 1 Depo. at 58:21–59:7.) In
25   CBP Agent 1’s opinion, none of the information in the Field Encounter “support[ed] taking
26   any adverse action against Pastor Dousa.” (See id. at 76:7–11.)
27         92.    Although he considered the information in the Field Report to be “potentially
28   relevant to Pastor Dousa’s continued enrollment in CBP’s Trusted Traveler program,” (see

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 1   Day 3 Tr. at 549:22–25), Miguel Haro did not send it to Oliveri or Gonzales, (see id. at
 2   550:1–3), with whom he had previously corresponded regarding Dousa’s continued TTP
 3   enrollment. (See id.at 549:13–21.)
 4         93.    That same day, Miguel Haro emailed the TTRT: “If Kaji Dousa crosses again
 5   please see attached ROI and image. She may be part of furthering fraudulent marriage
 6   certificates with a valid VA notary stamp. If encountered[,] direct questions to association
 7   to women from ROI and how she’s assisting with marriage certificates.” (See ECF Nos.
 8   150-5 (“Ex. 78”), 154-8 (“Ex. 582”); see also Day 3 Tr. at 552:6–10, 578:1–579:10;
 9   Burnett Depo. at 80:1–19.)
10         94.    On January 7, 2019, the Emergency Operations Center provided a briefing.
11   (See ECF No. 154-5 (“Ex. 351”); see also Day 3 Tr. at 556:25–557:4.) Among other things,
12   the briefing included slides concerning “CBP Encounter[s]/Interview[s]” with “Caravan
13   Coordinator[s],” including Dousa. (See Ex. 351 at 22–23.) The slide contained bullet
14   points from the Field Encounter from her TTRT interview, (see id. at 23; see also Day 3
15   Tr. at 557:9–22), but nothing about marriage ceremonies in Tijuana. (See Ex. 351 at 23;
16   see also Day 3 Tr. at 557:23–558:3.)
17         E.     The Migrant Caravan PowerPoint
18         95.    In the beginning of 2019, following a mass attempt by migrants to cross the
19   Southern border into the United States, then-CBP Chief Patrol Agent for the San Diego
20   Sector Scott asked for a briefing on efforts being taken regarding the migrant caravan. (See
21   Day 3 Tr. at 409:18–410:3.) In response, Del Villar assigned Rodriguez to create a
22   document to brief Scott about individuals associated with the caravan.          (See id. at
23   410:12–411:1, 431:21–432:3.)
24         96.    Rodriguez “directly obtained” “all of the information contained within the
25   PowerPoint.” (See id. at 433:12–15.) Rodriguez first performed keyword searches for
26   terms such as “caravan,” “migrant caravan,” “caravan 2019,” and “migrant caravan 2019”
27   in the IRS database. (See id. at 433:21–434:12.)
28   ///

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 1            97.    Rodriguez then skimmed the search results and relevant reports. (See id. at
 2   434:13–14, 435:17–24.) Individuals who were identified in the reports were added to the
 3   PowerPoint. (See id. at 436:5–437:12.) Rodriguez included uniform information for each
 4   individual, including their photograph, name, date of birth, county of citizenship, role,
 5   whether a TECS alert had been placed, and a “disposition.” (See id. at 437:13–439:8.)
 6   Rodriguez completed these steps in approximately four to five hours on January 7, 2019.
 7   (See id. at 443:20–444:5.)
 8            98.    Ninety-nine percent of the information included in the PowerPoint came from
 9   the IRS keyword search results, (see id. at 439:9–13), with the rest coming from other CBP
10   databases.      (See id. at 439:14–440:6.)       Aside from role and disposition, Rodriguez
11   considered the information to be accurate. (See id. at 442:17–443:2.) Verifying the
12   information, however, was beyond the scope of the task he had been assigned. (See id. at
13   440:18–441:12.)
14            99.    After compiling this information, Rodriguez sent it two other supervisors
15   whose role was limited to the aesthetic presentation of that material in PowerPoint format.
16   (See id. at 433:2–8, 433:16–20, 444:2–9.) One of those supervisors sent the completed
17   PowerPoint to Rodriguez the following morning at 7:26 a.m. (See ECF No. 152-10 (“Ex.
18   317”); see also Day 3 Tr. at 444:14–445:10.)
19            100. At 7:39 a.m. on January 8, 2019, Rodriguez circulated the PowerPoint
20   presentation, entitled “SDC-FOB: Migrant Caravan FY-2019: Suspected Organizers,
21   Coordinators, Instigators, and Media” (the “Migrant Caravan PowerPoint”),9 to Jose and
22   Miguel Haro, among others. (See ECF Nos. 149-15 (“Ex. 48”), 152-8 (“Ex. 315”); see
23   also Day 2 Tr. at 307:15–308:1, 308:14–22; Day 3 Tr. at 446:4–11, 559:1–12.) The cover
24   email said, “this is what we have so far, see attached.” (See Exs. 48, 315.) It added, “I
25   know Saro [Oliveri] mentioned . . . a few SENTRIs that were pulled, do you know which
26   ///
27
28   9
         SDC-FOB stands for “San Diego Sector Foreign Operations Branch.”

                                                      28
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 1   ones? Are the subjects on here?” ((See Ex. 315; see also Day 2 Tr. at 308:2–13, Day 3 Tr.
 2   at 450:16–24.)
 3         101. The Migrant Caravan PowerPoint included a photograph of Dousa without an
 4   “X” over her face, indicating her “Role” and “Disposition” as “N/A” and that there had
 5   been “No” “Alert Placed.” (See Ex. 315; see also Day 2 Tr. at 308:25–309:13; Day 3 Tr.
 6   at 448:16–449:14, 559:16–560:3; Stip. Facts at 23 ¶ 17.)
 7         102. Later that morning, Miguel Haro responded to Rodriguez, copying Dousa’s
 8   photograph and information from the Migrant Caravan PowerPoint into the email. (See
 9   ECF Nos. 149-15 (“Ex. 48”), 152-9 (“Ex. 316”); see also Day 2 Tr. at 309:20–25, Day 3
10   Tr. 452:17–24, 560:9–12.) He noted:
11         She has Global Entry[.]
12
           It was put on hold pending interview.
13
           She was interviewed by TTRT and she has a [TECS hit]. She was marrying
14
           the migrants and she is associated [with] possible marriage fraud with a VA
15         notary that is down in Mex too. I believe Agent Trueblood did an FE on the
           marriage fraud. I’ll look for it and forward.
16
17   (See Exs. 48, 316; see also Day 2 Tr. at 310:17–311:9, Day 3 Tr. at 452:5–453:6,
18   560:13–561:16.)
19         103. After further email exchanges, Rodriguez asked, “So she still has her Global
20   Card?” (See ECF No. 152-6 (“Ex. 311”).) At 11:11 a.m. on January 8, 2019, Miguel Haro
21   responded, “Yeah, the enrollment center wasn’t 100% convinced. So they were waiting
22   on the interview. I’ll check GES (Global Enrollment System) and see what they did with
23   her. I’ll let you know.” (See id.)
24         104. Despite receiving this information and understanding that Dousa still had her
25   Global Entry card, Rodriguez “made a mistake and . . . never went back and adjusted or
26   adjudicated that information on the PowerPoint.” (See Day 3 Tr. at 477:3–478:6.) He
27   presented the Migrant Caravan PowerPoint to Scott on the morning of January 9, 2019.
28   ///

                                                   29
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 1   (See id. at 455:25–456:7.) The briefing lasted approximately 90 seconds. (See id. at
 2   475:17–21.)
 3         105. On January 9, 2019, and again on January 10, 2019, Rodriguez circulated a
 4   revised version of the Migrant Caravan PowerPoint “containing 67 identified Caravan
 5   Organizers.” (See ECF Nos. 149-1 (“Ex. 5”), 151-6 (“Ex. 119”), 152-3 (“Ex. 303”); see
 6   also Day 2 Tr. at 311:11–312:5, Day 3 Tr. at 456:8–457:10, 563:11–24; Stip. Facts at 23
 7   ¶ 16.) Rodriguez invited the recipients to “[f]eel free to send out to whomever you like.”
 8   (See Exs. 5, 119, 303; see also Day 2 Tr. at 312:6–8, Day 3 Tr. at 457:2–10, 474:13–19.)
 9   Miguel Haro forwarded the email containing the revised Migrant Caravan PowerPoint to a
10   number of recipients without comment. (See Ex. 119; see also Day 3 Tr. at 564:3–20.)
11         106. The revised Migrant Caravan PowerPoint added a yellow “X” over Dousa’s
12   photo indicating revocation of her TTP status, changed her “Role” to “Associate,”
13   indicated that an “Alert” had been “Placed,” and changed “Disposition” to “SENTRI
14   Revoked.” (See ECF Nos. 149-4 (“Ex. 27”), 151-10 (“Ex. 126”); see also Day 2 Tr. at
15   312:20–315:19, Day 3 Tr. at 459:15–460:22, 562:17–563:3; Stip. Facts at 23 ¶ 18.) Oliveri
16   cannot explain why these changes were made after the TTRT found no derogatory
17   information about Dousa after interviewing her on January 2, 2019. (See Day 2 Tr. at
18   317:8–15.)
19         107. On February 27, 2019, NBC sent several agencies a “request for comment”
20   on the Migrant Caravan PowerPoint, (see ECF No. 149-2 (“Ex. 9”)), which had been
21   leaked. (See Stip. Facts at 23 ¶ 19; see also Day 3 Tr. at 413:6–7.) The email was circulated
22   within CBP, (see Ex. 9), with Del Villar eventually writing that “Chief [Scott] is asking
23   [the Sector Intelligence Unit] and [Foreign Operations Branch] to help him articulate why
24   we are targeting these individuals.” (See id.; see also Day 3 Tr. at 414:6–19.)
25         108. On March 8, 2019, an entry was added to Dousa’s TECS record: “Migrant
26   caravan FY 2019. Information Only [¶] TTRT exam. Do not revoke SENTRI based on
27   this lookout.” (See ECF Nos. 150-1 (“Ex 51”) at 3, 151-8 (“Ex. 122”); see also Day 2 Tr.
28   ///

                                                  30
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 1   at 318:14–319:3, 345:10–15.) Oliveri had no explanation for the entry other than the leak
 2   of the Migrant Caravan PowerPoint two days earlier. (See Day 2 Tr. at 320:9–16.)
 3         109. On July 25, 2019—the same day that Dousa moved for a preliminary
 4   injunction in this case, (see generally ECF No. 25; see also Day 2 Tr. at 324:3–13)—Oliveri
 5   entered a notation in Dousa’s GES record: “Interdiction cancelled. TECS record was a
 6   one-day lookout based on limited information received. No other derogatory information
 7   found. Oliveri.” (See Ex. 51-2 at 48; Ex 580; see also Day 2 Tr. at 322:24–323:13,
 8   345:16–22.) Other than Dousa moving for a preliminary injunction that day, Oliveri could
 9   recall no other reason for cancelling the interdiction on that day. (See Day 2 Tr. at
10   325:14–325:18.)
11   V.    Dousa’s Discovery of the Investigation and Its Impact on Her
12         110. “On March 6, 2019, NBC 7 in San Diego published an article [containing] a
13   copy of the PowerPoint presentation that had been leaked by a whistleblower.” (Stip. Facts
14   at 23 ¶ 19; see also ECF No. 153-11 (“Ex. 343”); Day 3 Tr. at 413:6–7.) When Dousa saw
15   the article, she understood why she had been pulled into secondary screening in January of
16   that year. (See Day 2 Tr. at 115:19–117:5.)
17         111. Because Dousa suspected that one of the blurred-out photos appearing in the
18   article might be hers, she contacted Tom Jones, the reporter who broke the story, who
19   emailed her a copy of the unredacted, unblurred photo of Dousa with a yellow “X” across
20   her face. (See id. at 117:6–25; see also ECF No. 151-10 (“Ex. 126”).) When she saw it,
21   Dousa “collapsed to the floor and just hid under [her] table and cried.” (See Day 2 Tr. at
22   122:13–15.)
23         112. The combination of the yellow “X” and text led Dousa to believe that her
24   Global Entry had been “canceled,” (see Day 2 Tr. at 127:10–19), or “revoked,” (see id. at
25   128:20–129:8), and she has been unsure of her Trusted Traveler program status ever since.
26   (See id. at 130:4–11.)
27         113. Dousa has travelled to Mexico five times and internationally two times since
28   March 2019. (See ECF No. 154-9 (“Ex. 583”); see also Day 2 Tr. at 339:9–25.) Although

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 1   Dousa was “unable to use [her] Global Entry card at the kiosk” and “had to go back into
 2   the general passport lane” when she returned from a ministry trip to Ethiopia in
 3   approximately 2021, (see id. at 130:12–24; see also id. at 229:15–230:5), she was not
 4   pulled into secondary inspection or otherwise questioned during that or any subsequent
 5   reentry into the United States. (See id. at 131:3–6 (Ethiopia), 229:7–12 (Bahamas),
 6   230:10–17 (Mexico); see also Ex. 583.)
 7         114. When Dousa returned to Mexico as part of her ministry after March 2019, she
 8   only felt comfortable doing so accompanied by counsel. (See Day 2 Tr. at 128:21–129:16;
 9   see also id. at 134:9–12, 228:21–3.) Dousa also has been “careful to carry a letter from
10   [her] lawyer explaining that [she is], indeed, a U.S. citizen” when travelling internationally.
11   (See id. at 129:17–130:3.)
12         115. In September 2021, Dousa learned of the email that Oliveri had sent to the
13   Mexican government when she read the DHS OIG Report. (See id. at 131:21–132:6.) To
14   Dousa, “this was worse” than the leak of the PowerPoint “because it’s just so much more
15   physically dangerous” and she “was, again, terrified.” (See id. at 132:12–20.) Because she
16   does not feel safe doing so, she has not returned to Mexico since that time. (See id. at
17   132:21–133:4, 134:13–16, 155:3–6.)
18         116. According to Dousa, these events have “changed [her] life” and “the way that
19   [she] do[es her] ministry.” (See id. at 133:12–15.) She no longer travels to Mexico,
20   meaning she can no longer offer a “ministry of presence.” (See id. at 134:17–135:1; see
21   also id. at 226:23–227:19.) As for her ministry in the United States, Dousa no longer feels
22   comfortable officiating marriages for non-U.S. citizens. (See id. at 135:2–17.) Finally,
23   regarding her ministry to U.S. citizens, after these events took place, Dousa’s congregants
24   worried that they might become “targets of the U.S. government.” (See id. at 136:3–15.)
25         117. Dousa continues to “speak publicly about immigration issues and [her]
26   criticisms of them,” (see id. at 215:5–7), although she has “plenty of fear of retaliation from
27   CBP.” (See id. at 215:22–25.) “It’s a calculation [she] always ha[s] to make.” (See id. at
28   216:1–3.)

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 1                                   CONCLUSIONS OF LAW
 2   I.    Article III Standing
 3         1.     “To establish Article III standing, a plaintiff must demonstrate that: (1) she
 4   suffered an ‘actual or imminent’ injury as a result of the alleged illegal conduct; (2) there
 5   is a ‘causal connection between the injury and the conduct complained of’; and (3) the
 6   injury will ‘likely’ be ‘redressed by a favorable decision’ of the court.” Wright v. Serv.
 7   Emps. Int’l Union Loc. 503, 48 F.4th 1112, 1118 (9th Cir. 2022) (quoting Lujan v. Defs. of
 8   Wildlife, 504 U.S. 555, 560–61 (1992)), cert. denied sub nom. Wright v. SEIU Loc. 503,
 9   No. 22-577, 2023 WL 350030 (U.S. Jan. 23, 2023).
10         2.     “Because [Dousa]’s First Amendment claim for declaratory and injunctive
11   relief [i]s based on the threat of future injury, she has standing to sue only if the threatened
12   injury is certainly impending, or there is a substantial risk that the harm will occur.” See
13   id. (internal quotation marks omitted) (quoting In re Zappos.com, Inc., 888 F.3d 1020, 1024
14   (9th Cir. 2018) (quoting Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014))).
15   “[Dousa] cannot rely ‘on mere conjecture’ about Defendants’ possible actions; she must
16   present ‘concrete evidence to substantiate [her] fears.’” See id. (quoting Index Newspapers
17   LLC v. U.S. Marshals Serv., 977 F.3d 817, 825 (9th Cir. 2020) (quoting Clapper v. Amnesty
18   Int’l USA, 568 U.S. 398, 420 (2013))). “Past wrongs are ‘insufficient by themselves to
19   grant standing,’ but are ‘evidence bearing on whether there is a real and immediate threat
20   of repeated injury.’” Id. at 1118–19 (quoting Davidson v. Kimberly-Clark Corp., 889 F.3d
21   956, 967 (9th Cir. 2018) (citing City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983))).
22   “When a plaintiff’s standing is grounded entirely on the threat of repeated injury, a plaintiff
23   must show ‘a sufficient likelihood that [s]he will again be wronged in a similar way.’” Id.
24   at 1119 (alteration in original) (quoting Davidson, 889 F.3d at 967 (quoting Lyons, 461
25   U.S. at 111)).
26         3.     “First Amendment challenges ‘present unique standing considerations’
27   because of the ‘chilling effect of sweeping restrictions’ on speech.” Italian Colors Rest. v.
28   Becerra, 878 F.3d 1165, 1171 (9th Cir. 2018) (quoting Ariz. Right to Life Political Action

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 1   Comm. v. Bayless, 320 F.3d 1002, 1006 (9th Cir. 2003)). “A chilling of First Amendment
 2   rights can constitute a cognizable injury, so long as the chilling effect is not ‘based on a
 3   fear of future injury that itself [is] too speculative to confer standing.’” Index Newspapers,
 4   977 F.3d at 826 (alteration in original) (quoting Munns v. Kerry, 782 F.3d 402, 410 (9th
 5   Cir. 2015) (citing Clapper, 568 U.S. at 417–18); Libertarian Party of L.A. Cnty. v. Bowen,
 6   709 F.3d 867, 870 (9th Cir. 2013) (“[A]s the Supreme Court has recognized, a chilling of
 7   the exercise of First Amendment rights is, itself, a constitutionally sufficient injury.”).
 8         4.     “The existence of standing turns on the facts as they existed at the time the
 9   plaintiff filed the complaint.” Skaff v. Meridien N. Am. Beverly Hills, LLC, 506 F.3d 832,
10   838 (9th Cir. 2007) (citing Lujan, 504 U.S. at 569 n.4). Judge Burns previously concluded
11   that “Dousa has demonstrated that she has standing to pursue her claims against the
12   Government based on its pattern of surveillance and the chilling effect this surveillance has
13   had on her exercise of protected activity,” see Dousa v. DHS, No. 19CV1255-LAB (KSC),
14   2020 WL 434314, at *6 (S.D. Cal. Jan. 28, 2020), and, in the absence of any challenge
15   from Defendants, (see generally Defs.’ Br.), the Court is disinclined to reevaluate Dousa’s
16   standing at this time.
17   II.   First Cause of Action: Retaliation in Violation of the First Amendment
18         5.     The Parties agree that, to establish a prima facie case for retaliation, Dousa
19   must establish that (1) she engaged in a constitutionally protected activity, (2) Defendants’
20   actions would chill a person of ordinary firmness from continuing to engage in that
21   protected activity, and (3) the protected activity was a substantial or motivating factor in
22   Defendants’ conduct. (Compare Pl.’s Br. at 39–40 (quoting Sampson v. County of Los
23   Angeles, 974 F.3d 1012, 1019 (9th Cir. 2020)), with Defs.’ Br. at 17 (citing Blair v. Bethel
24   Sch. Dist., 608 F.3d 540, 543 (9th Cir. 2010)).) “To ultimately prevail on such a claim, a
25   plaintiff must establish a causal connection between the government defendant’s retaliatory
26   animus and the plaintiff’s subsequent injury.” Capp v. County of San Diego, 940 F.3d
27   1046, 1053 (9th Cir. 2019) (internal quotation marks omitted) (quoting Nieves v. Bartlett,
28   587 U.S. ___, 139 S. Ct. 1715, 1722 (2019)). “Specifically, a plaintiff must show that the

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 1   defendant’s retaliatory animus was a but-for cause, meaning that the adverse action against
 2   the plaintiff would not have been taken absent the retaliatory motive.” Id. (quoting Nieves,
 3   139 S. Ct. at 1722).
 4         6.     “Once a plaintiff has made such a showing, the burden shifts to the
 5   government to show that it ‘would have taken the same action even in the absence of the
 6   protected conduct.’” (Pl.’s Br. at 40 (quoting O’Brien v. Welty, 818 F.3d 920, 932 (9th Cir.
 7   2016)).) “The Government must show more than that they could have punished the
 8   plaintiffs[] in the absence of the protected speech; instead, the burden is on the defendants
 9   to show through evidence that they would have punished the plaintiff[] under those
10   circumstances.” Bello-Reyes v. Gaynor, 985 F.3d 696, 702 (9th Cir. 2021) (emphasis in
11   original) (quoting Pinard v. Clatskanie Sch. Dist. 6J, 467 F.3d 755, 770 (9th Cir. 2006)).
12         7.     The Court finds that Dousa has established a prima facie case for First
13   Amendment Retaliation. First, the law is clear, and Defendants do not dispute, (see Defs.’
14   Br. at 17–18), that both Dousa’s ministry to migrants and speech concerning U.S.
15   immigration law and policy constitute “constitutionally protected activity.” See, e.g.,
16   Murdock v. Commonwealth of Pennsylvania, 319 U.S. 105, 109 (1943) (noting that
17   distribution of religious pamphlets, like “worship in the churches and preaching from the
18   pulpits,” “occupies . . . high estate under the First Amendment”); Capp, 940 F.3d at 1054
19   (“[V]oicing criticism of [a government a]gency’s conduct[ ]is constitutionally protected.”
20   (citing Hartman v. Moore, 547 U.S. 250, 256 (2006); Ford v. City of Yakima, 706 F.3d
21   1188, 1192–93 (9th Cir. 2013) (per curiam), abrogated on other grounds by Nieves, 139 S.
22   Ct. 1715)); see also Adlerstein v. U.S. Customs & Border Prot., No. CIV 19-500-TUC-
23   CKJ, 2020 WL 5846600, at *12 (D. Ariz. Oct. 1, 2020) (concluding that “associating with
24   migrants and advocates and . . . engaging in political speech” were protected activity (first
25   citing Roberts v. U.S. Jaycees, 468 U.S. 609, 622 (1984); then citing Buckley v. Am. Const.
26   Law Found., Inc., 525 U.S. 182, 186–87 (1999))).
27         8.     Second, Oliveri’s email to the Mexican government would chill a person of
28   ordinary firmness from continuing to engage in Dousa’s protected activities. In that email,

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 1   Oliveri, on behalf of CBP, requested that Dousa be “den[ied] entry to Mexico” and “sen[t]
 2   . . . back to the United States.” As Dousa testified at trial:
 3         It would be reckless, even, to go to a country that my country has asked to
           apprehend, arrest me and place me in custody until I’m returned to the custody
 4
           of the United States. . . . You don’t go to a country where you know that you
 5         might be arrested for just walking there and offering ministry. It doesn’t make
           sense.
 6
 7   (See Day 2 Tr. at 227:13–19.) There is no evidence that Defendants have corrected or
 8   retracted this request and, although Dousa traveled to Mexico five times following her
 9   detention on January 2, 2019, she has not returned to Mexico since she learned of the email
10   in September 2021.
11         9.     Finally, the Court concludes that Dousa’s constitutionally protected activity
12   was a substantial or motivating factor in—at the very least—Defendants’ decision to email
13   the Mexican authorities.
14         10.    With the benefit of hindsight, there are numerous ways in which Defendants’
15   investigation of Dousa could have been improved. Based on Migrant 1’s statements on
16   November 30, 2018, the Court finds that Defendants had a legitimate interest in searching
17   for information concerning Dousa in government databases and/or placing a TECS
18   “lookout” on Dousa to conduct an interview of her regarding the information provided by
19   Migrant 1. The legitimacy of the Defendants’ investigative efforts, however, particularly
20   the detention and interview of Dousa on January 2, 2019, is undermined by the fact that
21   during the January 2, 2019 interview Dousa was never questioned about Migrant 1’s
22   information or her activities related to officiating marriage ceremonies in Mexico. Further,
23   although several CBP employees sought to revoke Dousa’s Global Entry, the record makes
24   clear that no CBP employee ever took the steps necessary to do so. Indeed, had the Migrant
25   Caravan PowerPoint never been leaked to the press, Dousa would have been none-the-
26   wiser as to any of Defendants’ investigative actions, including the “targeting” work
27   product, with the notable exception of Dousa’s January 2, 2019 detention and interview.
28   ///

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 1          11.   In contrast to the Court’s determination that Defendants had a legitimate
 2   interest in conducting a follow-up investigation regarding Migrant 1’s statements, the
 3   Court concludes that no credible claim of legitimacy can be made for Oliveri’s
 4   December 10, 2018 email to the Mexican government. Not only does it appear that the
 5   decision to send such an email was unprecedented, but even Oliveri acknowledged that the
 6   email was “[l]iterally, creative writing . . . [w]ithout any basis.” Despite Oliveri’s
 7   testimony that he never “inten[ded] to punish or retaliate against Pastor Dousa because of
 8   her religious beliefs,” (see Day 2. Tr. at 340:20–23), the absence of any proper basis for
 9   writing and sending the email is incontrovertible evidence of Oliveri’s retaliatory motive.
10   See, e.g., White, 227 F.3d at 1237–38 (affirming grant of summary adjudication in favor of
11   plaintiffs’ on the First Amendment retaliation claim where “the investigation far exceeded
12   what was reasonable for the purpose of ascertaining the plaintiffs’ motives for filing the
13   state-court suit and thus intruded unnecessarily on their First Amendment rights”).
14          12.   Because Dousa has established a prima facie case for retaliation stemming
15   from the email to the Mexican government, the burden shifts to the government to show
16   that it would have taken the same action even in the absence of Dousa’s protected conduct.
17   Defendants have failed to do so. (See generally Defs.’ Br. at 17–18.)
18          13.   The Court therefore concludes that Dousa has established that the CBP
19   retaliated against her in violation of her First Amendment rights.
20   III.   Second Cause of Action: Violation of the First Amendment’s Free Exercise
            Clause
21
22          14.   The Parties agree that, to prevail on her Free Exercise claim, Dousa must
23   establish that Defendants’ actions impaired the free exercise of her genuinely held religious
24   beliefs. (Compare Pl.’s Br. at 38 (citing Jones v. Slade, 23 F.4th 1124, 1144 (9th Cir.
25   2022)), with Defs.’ Br. at 18 (citing United States v. Lee, 455 U.S. 252, 256–57 (1982)).)
26   As Judge Burns previously recognized, when—as here—“‘the challenged government
27   action is neither regulatory, proscriptive or compulsory,’ the question is not necessarily
28   whether the Government action is neutral and generally applicable, but rather ‘whether it

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 1   substantially burdens a religious practice and either is not justified by a substantial state
 2   interest or is not narrowly tailored to achieve that interest.’” Dousa, 2020 WL 434314, at
 3   *7 (quoting Am. Fam. Ass’n, Inc. v. City & County of San Francisco, 277 F.3d 1114,
 4   1123–24 (9th Cir. 2002)).
 5         15.    “[A] substantial burden ‘must place more than inconvenience on religious
 6   exercise.’” Int’l Church of Foursquare Gospel v. City of San Leandro, 673 F.3d 1059,
 7   1067 (9th Cir. 2011) (quoting Guru Nanak Sikh Soc’y of Yuba City v. County of Sutter, 456
 8   F.3d 978, 988 (9th Cir. 2006)). Instead, “a ‘substantial burden’ is imposed only when
 9   individuals are forced to choose between following the tenets of their religion and receiving
10   a governmental benefit (Sherbert[ v. Verner, 374 U.S. 398 (1963)]) or coerced to act
11   contrary to their religious beliefs by the threat of civil or criminal sanctions ([Wisconsin
12   v.] Yoder[, 406 U.S. 205 (1972)]).” Navajo Nation v. U.S. Forest Serv., 535 F.3d 1058,
13   1069–70 (9th Cir. 2008). “Any burden imposed on the exercise of religion short of that
14   described by Sherbert and Yoder is not a ‘substantial burden.’” Id. at 1070. Consequently,
15   “a subjective chilling effect on free exercise rights is not sufficient to constitute a
16   substantial burden.” Dousa, 2020 WL 434314, at *7 (quoting Am. Family Ass’n, 277 F.3d
17   at 1124) (citing Vernon v. City of Los Angeles, 27 F.3d 1385, 1394 (9th Cir. 1994)).
18         16.    Dousa contends that Defendants have substantially burdened her religious
19   practice by (1) “coercively prevent[ing] her from traveling to Mexico to carry out her
20   ministry of presence there[,]” (2) “coercively prevent[ing] her from officiating Christian
21   marriage ceremonies for non-U.S. citizens in the United States[,]” and (3) “imped[ing]
22   [her] ability to provide essential pastoral care to her congregants with the necessary
23   guarantees of secrecy and confidentiality.” (See Pl.’s Br. at 37 (citing Mockaitis v.
24   Harcleroad, 104 F.3d 1522, 1533 (9th Cir. 1997), overruled on other grounds by City of
25   Boerne v. Flores, 521 U.S. 507 (1997)).) Although Defendants concede that Dousa’s
26   ministry in Mexico, officiating Christian marriage ceremonies, and provision of pastoral
27   care are religious practices, they argue that the harms Dousa identifies remain “subjective
28   ///

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 1   and constitute, at best, only an incidental burden on her religious practice.” (See Defs.’ Br.
 2   at 19.)
 3             17.   To the extent Dousa contends that Defendants have violated her Free Exercise
 4   rights because she has declined to “officiate marriages for non-U.S. citizens, because [she]
 5   worr[ies] about what that might do to their immigration status for having been associated
 6   with [her] in some way,” (see Day 2 Tr. at 135:2–17), Dousa has not established more than
 7   a subjective chilling effect. Although Dousa’s reluctance to officiate marriages for non-
 8   U.S. citizens is understandable, the record establishes that Defendants’ investigation was
 9   limited to whether Dousa was committing marriage fraud to facilitate asylum claims for
10   members of the 2018 to 2019 migrant caravan. There is no evidence in the record that
11   (1) the investigation ever focused on marriages Dousa officiated anywhere other than
12   Tijuana; (2) any further investigative measures were taken against Dousa after July 25,
13   2019, when Oliveri cancelled the interdiction on her in the TECS database; or (3) any
14   adverse immigration-related action has ever been taken against any non-U.S. citizen Dousa
15   has married, including those she married in Tijuana on November 27 and 28, 2018.
16   Ultimately, there is an insufficient nexus between the activity from which Dousa is
17   refraining and the government’s investigative actions. The Court is therefore unable to
18   conclude that Defendants’ investigation coercively has prevented Dousa from officiating
19   marriages for non-U.S. citizens in the United States.
20             18.   The same is true of Dousa’s claim that Defendants’ investigation has impeded
21   her from providing essential pastoral care to her congregants. Dousa testified that learning
22   of the investigation against her has made “things so much harder for [her congregants]”
23   because “they worried that [the United States’ investigation] could also make them targets
24   of the U.S. government.” (See Day 2 Tr. at 136:3–15.) Dousa, however, stops short of
25   offering evidence that “members have withdrawn from active participation” or
26   “congregants have become reluctant to seek pastoral counseling and are less open in
27   prayers and confessions.” Cf. Presbyterian Church (U.S.A.) v. United States, 870 F.2d
28   518, 522 (9th Cir. 1989) (concluding that church had standing on First Amendment claim

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 1   where U.S. Immigration and Naturalization Service agents surreptitiously recorded church
 2   services because “when congregants are chilled from participating in worship activities,
 3   when they refuse to attend church services because they fear the government is spying on
 4   them and taping their every utterance, all as alleged in the complaint, . . . a church suffers
 5   organizational injury because its ability to carry out its ministries has been impaired”); cf.
 6   also Mockaitis, 104 F.3d at 1530 (concluding that audiotaping of Catholic sacrament of
 7   confession between prisoner and Catholic priest for purposes of murder investigation
 8   “invade[d prisoners’] free exercise of religion and . . . ma[de] it impossible for [the priest]
 9   to minister the sacrament to those who seek it in jail”). There also is no evidence, as there
10   was in Presbyterian Church or Mockaitis, that Dousa’s interactions with her congregants
11   were ever recorded, much less monitored, as part of the government’s investigation into
12   marriage fraud allegedly occurring in Mexico. Although Dousa’s claimed harms are
13   important, the current record fails to establish that Defendants’ investigation into Dousa’s
14   alleged participation in marriage fraud has prevented Dousa from providing essential
15   pastoral care to her congregants in the United States.
16         19.    Further, the United States has a compelling interest in protecting the border,
17   see Presbyterian Church (U.S.A.) v. United States, 752 F. Supp. 1505, 1513 (D. Ariz. 1990)
18   (“[T]he government’s interest in controlling immigration outweighs appellants’ purported
19   religious interest.” (quoting United States v. Aguilar, 883 F.2d 662, 696 (9th Cir.1989),
20   superseded by statute on other grounds as recognized in United States v. Gonzalez-Torres,
21   309 F.3d 594 (9th Cir. 2002))); (see also Defs.’ Br. at 22–26), and the investigation was
22   narrowly tailored to achieve that result. The record reveals that the investigation—
23   although at times misguided and unprofessional—was limited to Defendants pulling
24   information about Dousa from the internet and government-accessible databases and
25   interviewing her at secondary inspection. The Court therefore concludes that Dousa has
26   failed to establish that Defendants violated her Free Exercise rights by investigating
27   Migrant 1’s report that Dousa may have been involved in marriage fraud.
28   ///

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 1         20.    The Court reaches a different conclusion as to Dousa’s Free Exercise claim to
 2   the extent she contends that Oliveri’s December 10, 2018 email to the Mexican government
 3   has substantially burdened her ministry in Mexico. At the preliminary injunction stage,
 4   Judge Burns concluded that Dousa had failed to demonstrate a likelihood of success on the
 5   merits because “[s]he remains free to travel to Mexico, to minister there, and to return to
 6   the United States with ease.” See Dousa, 2020 WL 434314, at *8. Judge Burns noted,
 7   however, that, “if the Government had revoked Dousa’s SENTRI card (and Dousa could
 8   show that the revocation was the result of her engaging in protected activity), the Court
 9   would have no problem finding a substantial burden” because “[t]hat action would
10   effectively amount to a government sanction, and it would undoubtedly make it more
11   difficult for her to travel and to practice her sincerely held beliefs.” See id.
12         21.    Although the Court has concluded that the government did not revoke Dousa’s
13   Global Entry privileges, the December 10, 2018 email has accomplished the same end
14   result: Defendants contend that “Plaintiff has traveled to Mexico on multiple occasions
15   since the time she was sent to secondary,” (see Defs.’ Br. at 19), but the record conclusively
16   establishes that Dousa has not travelled to Mexico since learning of the December 10, 2018
17   email in September 2021. For the reasons discussed above, see supra Section II, the email
18   “threatens to ‘coerce’ [Dousa], via [potential forced repatriation,] into abandoning conduct
19   that is an exercise of religion.” See United States v. Hoffman, 436 F. Supp. 3d 1272, 1285
20   (D. Ariz. 2020) (concluding that volunteers from a faith-based, humanitarian aid
21   organization demonstrated that enforcement of permit requirement for entering wildlife
22   refuge substantially burdened their exercise of their religious beliefs); see also, e.g., Dousa,
23   2020 WL 434314, at *8 (noting that revocation of Dousa’s TTP status “would effectively
24   amount to a government sanction, and it would undoubtedly make it more difficult for her
25   to travel and to practice her sincerely held beliefs”).
26         22.    Further, this burden is not justified by a substantial state interest or narrowly
27   tailored to achieve that interest. While the United States undoubtedly has a compelling
28   state interest in protecting the border, Oliveri’s admission that the email was “[l]iterally,

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 1   creative writing . . . [w]ithout any basis” indicates that there exists no substantial state
 2   interest in requesting that Mexican authorities deny entry to Dousa. And, as evidenced by
 3   the United States’ other investigative efforts, there exist more “narrowly tailored”
 4   approaches to achieve border security. Dousa therefore has established that the CBP
 5   violated her Free Exercise rights by restricting her ability to minister to migrants in Mexico.
 6   IV.   Third Cause of Action: Violation of the Religious Freedom Restoration Act
 7         23.    Finally, the Parties agree that, to succeed on her RFRA claim, Dousa must
 8   prove (1) the activities she claims are burdened by Defendants’ action are an exercise of
 9   religion, and (2) Defendants’ action substantially burdened her exercise of religion.
10   (Compare Pl.’s Br. at 36 (quoting Oklevueha Native Am. Church of Haw., Inc. v. Lynch,
11   828 F.2d 1012, 1014 (9th Cir. 2016)), with Defs.’ Br. at 20 (quoting Navajo Nation, 535
12   F.3d at 1068).) Once Dousa has met her burden, Defendants must prove that the challenged
13   government action furthers a compelling governmental interest and is implemented by the
14   least restrictive means. (Compare Pl.’s Br. at 36 (quoting Navajo Nation, 535 F.3d at
15   1068), with Defs.’ Br. at 20 (citing Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 705
16   (2014)).)
17         24.    As Judge Burns noted, see Dousa, 2020 WL 434314, at *8–9, and the Parties
18   acknowledge, (see Pl.’s Br. at 38–39), this analysis is similar to that of Plaintiff’s Free
19   Exercise claim, with the exception that the government interest must be “compelling”
20   instead of “substantial” and “implemented by the least restrictive means” rather than
21   “narrowly tailored.” For the same reasons as discussed above, see supra Section III, the
22   Court concludes that Plaintiff has established that the CBP violated the RFRA when Oliveri
23   emailed the Mexican government on December 10, 2018, but not by conducting its
24   investigation into her alleged marriage fraud.
25   V.    Prevailing Party
26         25.    Dousa requests that she be awarded her reasonable costs and attorneys’ fees
27   as the prevailing party pursuant to the Equal Access to Justice Act (“EAJA”), 28 U.S.C.
28   § 2412. “The EAJA provides for the award of attorney’s fees to a party that prevails against

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 1   the United States in a proceeding for review of an agency action, unless the court finds
 2   ‘that the position of the United States was substantially justified or that special
 3   circumstances make an award unjust.’” Costa v. Comm’r of Soc. Sec. Admin., 690 F.3d
 4   1132, 1135 (9th Cir. 2012) (quoting 28 U.S.C. § 2412(d)(1)(A)).
 5         26.    Here, the Court finds that the CBP violated Dousa’s First Amendment rights
 6   when Oliveri emailed the Mexican government on December 10, 2018. See supra Sections
 7   II–IV. Dousa is therefore entitled to at least some of her reasonable costs and attorneys’
 8   fees. What proportion of her costs and attorneys’ fees Dousa is entitled to recover depends
 9   on the resolution of two questions: “First, did the plaintiff fail to prevail on claims that
10   were unrelated to the claims on which he succeeded? Second, did the plaintiff achieve a
11   level of success that makes the hours reasonably expended a satisfactory basis for making
12   a fee award?” See Hensley v. Eckerhart, 461 U.S. 424, 434 (1983). The Court therefore
13   defers ruling on the amount of Dousa’s award of reasonable costs and attorneys’ fees
14   pending the receipt of additional briefing from the Parties, as discussed below.
15                                CONCLUSION AND RULING
16         27.    Ultimately, the Court concludes that Dousa has established that the CBP
17   unlawfully retaliated against her for her protected First Amendment activity, violated her
18   Free Exercise right to minister to migrants in Mexico, and violated the RFRA when Oliveri
19   emailed Mexican authorities on December 10, 2018, that “there exist[ed] a great possibility
20   that [she] d[id] not have adequate documentation to be in Mexico” and that she should be
21   “den[ied] . . . entry to Mexico” and “sen[t] . . . back to the United States.”
22         28.    Accordingly, within fourteen (14) days of the date on which this Order is
23   electronically docketed, Defendants SHALL COMMUNICATE in writing to appropriate
24   Mexican immigration authorities that their request in Oliveri’s December 10, 2018 email
25   is fully and immediately rescinded and revoked as to Dousa.             Defendants SHALL
26   SUBMIT a copy of such communication to the Court.
27         29.    Pursuant to the EAJA, the Court AWARDS Dousa her reasonable costs and
28   attorneys’ fees as the prevailing party in this case. Dousa MAY FILE a properly supported

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 1   motion regarding her reasonable costs and attorneys’ fees, including whether the fee award
 2   should be reduced given Dousa’s partial success, on or before April 24, 2023. Should
 3   Dousa file a motion under the EAJA, Defendants SHALL FILE their opposition on or
 4   before May 15, 2023, and Dousa MAY FILE an optional reply, if any, on or before
 5   May 29, 2023. Upon completion of the briefing, the Court will take the matter under
 6   submission without oral argument pursuant to Civil Local Rule 7.1(d)(1). If the Court later
 7   determines that oral argument is necessary, it will set a hearing date.
 8         IT IS SO ORDERED.
 9   Dated: March 21, 2023
10                                                 _____________________________
                                                   Honorable Todd W. Robinson
11
                                                   United States District Judge
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